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                           UNITED STATES DISTRICT COURT
                           WESTERN DISTRICT OF KENTUCKY
                                LOUISVILLE DIVISION
                               CASE NO: 3:23-CR-14-DJH

UNITED STATES OF AMERICA                                                              PLAINTIFF


V.


BRYAN DOUGLAS CONLEY                                                               DEFENDANT


       MOTION IN LIMINE TO EXCLUDE PSYCHOLOGICAL EVALUATIONS

                                       Electronically Filed

       Comes the Defendant, Bryan Douglas Conley, by counsel, and hereby moves in limine for

this Court exclude as evidence in this case any psychological and psycho-educational evaluations

of Adult Female 1. In support of this Motion, Defendant states as follows:

       Adult Female 1 is the alleged victim of Count 3, 4, and 5 in the Indictment. DN 4.

Previously, this individual was identified as R.W. (see, e.g., United States v. Conley, W.D. Ky.,

Case No. 3:19-CR-19, DN 45.) On October 31, 2022, the government provided previous counsel

several psychological/psycho-educational evaluations, and associated documents, that had been

conducted on Adult Female 1 more than twenty years ago. The evaluations are dated: December

19, 1990; April 5, 1991; May 21, 1992; February 10, 1997; and August 2 & 3, 2001. These

evaluations, collectively, have been identified, though not Bates stamped, by the government as

USA1713 - USA1766.

       The evaluations are irrelevant to this case. F.R.E. 401 states that “[e]vidence is relevant if:

(a) it has a tendency to make a fact more or less probable than it would be without the evidence;

and (b) the fact is of consequence in determining the action.” Psychological evaluations and



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psychoeducational evaluations conducted on an alleged victim more than twenty years ago does

not fit the definition of relevant. Therefore, pursuant to F.R.E. 402, the irrelevant psychological

and psychoeducational evaluations are inadmissible.

       Even if the Court determines the psychological and psycho-educational evaluations are

relevant, the evaluations should be excluded by operation of F.R.E. 403 because any probative

value the evaluations might have would be substantially outweighed by their unfair prejudice. The

government could only introduce these evaluations to show Adult Female 1’s assessment results

as they were on the dates of the evaluations. The five evaluations were conducted when the alleged

victim was: 9 years old (two evaluations); 10 years old; 15 years old; and 19 years old, respectively.

Conversely, Adult Female 1 was 37 years old at the time of the alleged conduct. Nothing in the

evaluations purport to assess Adult Female 1 at 37 years old, and nothing in the reports can be

projected onto her at age 37 as nearly twenty years passed from the time of her last evaluation to

the time of the conduct alleged in the indictment.

       Any reasoning for the evaluations, or any findings by the evaluations, would only prejudice

Mr. Conley at trial because (1) the jury would believe that the reasoning or findings of the

evaluations were somehow relevant to the alleged conduct; and (2) their introduction into evidence

would suggest that Mr. Conley knew or should have known of the alleged victim’s psychological

assessment.

       Finally, the government has not disclosed any experts to testify about the evaluations or

opine on how, if at all, the evaluations may be relevant to Adult Female 1 at the time of the alleged

conduct. The time to disclose any experts has expired. (See DN 40.)

       Because the evaluations are irrelevant, because the evaluations’ probative value is

substantially outweighed by unfair prejudice, and because the government has not identified any



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expert to testify and opine on the evaluations’ results, the Court should exclude the psychological

evaluations, psycho-educational evaluations, and any associated testimony related to documents

identified as USA1713-USA1766.



                                      Respectfully submitted,

                                      s/LARRY D. SIMON
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                                      CERTIFICATION

       I hereby certify that on June 26, 2023, a copy of the foregoing Motion to Sever Counts was

filed electronically. Service of this filing will be made on all ECF-registered counsel by operation

of the court’s electronic filing system. Parties may access this filing through the court’s system.

                                                             s/LARRY D. SIMON
                                                             LARRY D. SIMON




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